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                                                                                               2023 Jul-11 PM 04:54
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHEN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )
                                             )       CASE NUMBER: 2:23-CR-184-LSC-JHE
                                             )
VARRIE JOHNSON,                              )
Defendant.                                   )

                                 NOTICE OF APPEARANCE
       James W. Parkman, III, Esq. of PARKMAN LAW FIRM, hereby gives notice of his

appearance on behalf of the Defendant, Varrie Johnson, also known as Varrie Kindall, in the above-

styled case, and request that copies of all motions, notices, pleadings, and any other papers filed

or served in the above-cause be furnished to undersigned counsel.

                                                     Respectfully submitted,

                                                     /s/ James W. Parkman, III
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                                CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing has been filed with the Clerk of Court using
the CM/ECF electronic filing system which will send notification of such filing to all parties and
counsels of record:
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